                           Case 9:18-ap-00227-FMD                              Doc 9   Filed 06/15/18   Page 1 of 1
[Dntcpsca] [District Notice Scheduling Pretrial/Status Conference Adversary]
                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          FT. MYERS DIVISION
                                                          www.flmb.uscourts.gov

In re:                                                                   Case No. 9:17−bk−00426−FMD
                                                                         Chapter 7
Franz Josef Rosinus


________Debtor*________/

Luis E. Rivera II, Chapter 7 Trustee




              Plaintiff*


vs.                                                                      Adv. Pro. No. 9:18−ap−00227−FMD


Alico Industrial Venture, LLC

Corkscrew Plantation VII, Inc. a/k/a Corkscrew
Plantation VII, LLC

________Defendant*________/

                                    NOTICE SCHEDULING PRETRIAL/STATUS CONFERENCE

    NOTICE IS GIVEN THAT:

           1. A Pretrial/Status Conference will be held in Room 4−117, Courtroom E, United States Courthouse,
           2110 First St., Fort Myers, FL 33901, on July 19, 2018, at 10:30 AM , before the Honorable Caryl E.
           Delano, United States Bankruptcy Judge.

           2. All pending motions, other than Motions for Summary Judgment, may be heard at the
           Pretrial/Status Conference.

           3. Parties are reminded to comply with all requirements of Local Rule 7001−1.

           4.Avoid Delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones
           and, except in Orlando, computers into the courthouse absent a specific order of authorization issued
           beforehand by the presiding judge. Please take notice that as an additional security measure, a photo
           ID is required for entry into the courthouse.

                                                                 FOR THE COURT
              Dated: June 15, 2018                               Sheryl L. Loesch , Clerk of Court
                                                                 801 N. Florida Ave. Suite 555
                                                                 Tampa, FL 33602−3899


           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.

           *All references to "Plaintiff" or "Defendant" shall include and refer to multiple plaintiffs or
           defendants.
